Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 1 of 23 PageID #: 9




                                                                   EXHIBIT A
Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 2 of 23 PageID #: 10




                                                                    EXHIBIT A
      Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 3 of 23 PageID #: 11




                                                                                                           Electronically Filed - St Louis County - November 18, 2020 - 01:31 PM
                                                                              20SL-CC05699

                      IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                 STATE OF MISSOURI

BRENDA LAYTON,                                        )
                                                      )
               Plaintiff,                             )
                                                      )
vs.                                                   )      Cause No.
                                                      )
QUIKTRIP CORPORATION,                                 )      Division No.
                                                      )
Serve: CT Corporation System                          )
       120 South Central Ave.                         )
       Clayton, MO 63105                              )      JURY TRIAL DEMANDED
                                                      )
and                                                   )
                                                      )
JANE DOE,                                             )
                                                      )
Hold Service                                          )
                                                      )
               Defendants.                            )

                                             PETITION

       COMES NOW Plaintiff Brenda Layton, by and through her attorneys Justin D. Guerra

and Holloran Schwartz & Gaertner LLP, and for her cause of action against Defendant QuikTrip

Corporation and Defendant Jane Doe, states as follows:

       1.      That Plaintiff Brenda Layton (“Plaintiff”) was at all relevant times herein a

resident citizen of the State of Michigan.

       2.      That Defendant QuikTrip Corporation (“Defendant QuikTrip”) was at all relevant

times herein an Oklahoma corporation, in good standing, and conducting business in the State of

Missouri.

       3.      That Defendant Jane Doe (“Defendant Doe”) was at all relevant times herein a

resident citizen of the State of Missouri and an employee of Defendant QuikTrip in St. Louis

County, Missouri, but her identity is not fully known.

                                             Page 1 of 3

                                                                                               EXHIBIT A
      Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 4 of 23 PageID #: 12




                                                                                                             Electronically Filed - St Louis County - November 18, 2020 - 01:31 PM
        4.      That at all relevant times herein, Defendant QuikTrip owned, controlled,

maintained and/or operated a gas station and convenience store located at 9951 Big Bend

Boulevard in St. Louis County, State of Missouri (“Defendant’s property”), which is also known

as QuikTrip #626 (“QuikTrip #626”).

        5.      That at all relevant times herein, Defendant Doe was an employee of Defendant

QuikTrip working at QuikTrip #626, and at all times relevant herein was acting in the course and

scope of said employment.

        6.      That on or about December 8, 2018, Plaintiff was an invitee at QuikTrip #626

when she encountered an unsafe condition on the premises of QuikTrip #626 causing her to

suffer a fall and sustain physical injuries.

        7.      That at all relevant times herein, there existed an unnatural accumulation of liquid

on the floor in and around the women’s restroom and, as a result, the premises was not

reasonably safe for invitees such as Plaintiff.

        8.      That at all relevant times herein, Defendants knew or, in the exercise of ordinary

care, could have known of said unsafe condition.

        9.      That at all relevant times herein, Defendants failed to use ordinary care to remedy

the condition, barricade it, or warn of said condition.

        10.     That as a direct and proximate result of the negligence of Defendants, Plaintiff

sustained damage to wit: she sustained injuries to her head, back and upper extremities; she has

suffered pain, and she will continue to suffer pain in the future; and she has suffered in her

ability to work, labor, and enjoy the pursuits of life.




                                               Page 2 of 3

                                                                                                 EXHIBIT A
      Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 5 of 23 PageID #: 13




                                                                                                            Electronically Filed - St Louis County - November 18, 2020 - 01:31 PM
       11.     That the injuries sustained by Plaintiff which are the subject of this lawsuit occurred

in St. Louis County in the State of Missouri. Venue is therefore proper in the Circuit Court of St.

Louis County pursuant to Missouri’s general venue statute, Section 508.010 R.S.Mo.

       WHEREFORE, Plaintiff Brenda Layton prays for a judgment of damages against Defendants

in an amount in excess of $25,000.00 (Twenty-Five Thousand Dollars), costs herein expended, and

for any further relief this Court deems just and proper under the premises.


                                              HOLLORAN SCHWARTZ & GAERTNER LLP

                                              /s/Justin D. Guerra
                                              Justin D. Guerra, #59003
                                              9200 Litzsinger Road
                                              St. Louis, MO 63144
                                              314.772.8989 phone
                                              314.279.1333 fax
                                              jguerra@holloranlaw.com
                                              Attorneys for Plaintiff




                                            Page 3 of 3

                                                                                                EXHIBIT A
               Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 6 of 23 PageID #: 14




                                                                                                                                     Electronically Filed - St Louis County - November 18, 2020 - 01:31 PM
                                                                                                   20SL-CC05699
In the
CIRCUIT COURT                                                                                    ┌                               ┐
                                                                                                         For File Stamp Only
Of St. Louis County, Missouri
                                                         November 18, 2020
                                                        _________________________
__________________________________________
 Brenda Layton                                          Date
Plaintiff/Petitioner
                                                        _________________________
                                                        Case Number
vs.
                                                        _________________________
 QuikTrip Corporation
__________________________________________              Division

                                                                                                 └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff Brenda Layton                                 pursuant
                                               Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         St. Louis County Sheriff's Office Attn: Civil Process 105 S Central Ave, Clayton, MO 63105 (314) 615-4724
        Name of Process Server                         Address                                                       Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                       SERVE:
         CT Corporation System
        ____________________________________________                 ____________________________________________
        Name                                                         Name
         120 South Central Ave.
        ____________________________________________                 ____________________________________________
        Address                                                      Address
         Clayton, MO 63105
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        SERVE:                                                       SERVE:
        ____________________________________________                 ____________________________________________
        Name                                                         Name
        ____________________________________________                 ____________________________________________
        Address                                                      Address
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                 /s/Justin D. Guerra
                                                                     ___________________________________________
                                                                     Signature of Attorney/Plaintiff/Petitioner
                                                                      59003
                                                                     ___________________________________________
        By ________________________________________                  Bar No.
            Deputy Clerk                                              9200 Litzsinger Road, St. Louis, MO 63144
                                                                     ___________________________________________
                                                                     Address
             November 18, 2020
        ___________________________________________                  ___________________________________________
                                                                      (314) 772-8989                    (314) 279-1333
        Date                                                         Phone No.                                     Fax No.



        CCADM62-WS         Rev. 08/16
                                                                                                               EXHIBIT A
     Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 7 of 23 PageID #: 15




                                                                                        Electronically Filed - St Louis County - November 18, 2020 - 01:31 PM
Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
                                                                            EXHIBIT A
               Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 8 of 23 PageID #: 16




                                                                                                                                     Electronically Filed - St Louis County - November 18, 2020 - 01:31 PM
                                                                                                   20SL-CC05699
In the
CIRCUIT COURT                                                                                    ┌                               ┐
                                                                                                         For File Stamp Only
Of St. Louis County, Missouri
                                                         November 18, 2020
                                                        _________________________
__________________________________________
 Brenda Layton                                          Date
Plaintiff/Petitioner
                                                        _________________________
                                                        Case Number
vs.
                                                        _________________________
 QuikTrip Corporation
__________________________________________              Division

                                                                                                 └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff Brenda Layton                                 pursuant
                                               Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         St. Louis County Sheriff's Office Attn: Civil Process 105 S Central Ave, Clayton, MO 63105 (314) 615-4724
        Name of Process Server                         Address                                                       Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                       SERVE:
         CT Corporation System
        ____________________________________________                 ____________________________________________
        Name                                                         Name
         120 South Central Ave.
        ____________________________________________                 ____________________________________________
        Address                                                      Address
         Clayton, MO 63105
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        SERVE:                                                       SERVE:
        ____________________________________________                 ____________________________________________
        Name                                                         Name
        ____________________________________________                 ____________________________________________
        Address                                                      Address
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                 /s/Justin D. Guerra
                                                                     ___________________________________________
                                                                     Signature of Attorney/Plaintiff/Petitioner
                                                                      59003
                                                                     ___________________________________________
              /s/Laura Scotece
        By ________________________________________                  Bar No.
           Deputy Clerk                                               9200 Litzsinger Road, St. Louis, MO 63144
                                                                     ___________________________________________
           11/20/2020                                                Address
             November 18, 2020
        ___________________________________________                  ___________________________________________
                                                                      (314) 772-8989                    (314) 279-1333
        Date                                                         Phone No.                                     Fax No.



        CCADM62-WS        Rev. 08/16
                                                                                                               EXHIBIT A
     Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 9 of 23 PageID #: 17




                                                                                        Electronically Filed - St Louis County - November 18, 2020 - 01:31 PM
Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
                                                                            EXHIBIT A
           Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 10 of 23 PageID #: 18


             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC05699
 KRISTINE A KERR                                                                                                                SHERIFF FEE
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address                          PAID
 BRENDA LAYTON                                                  JUSTIN D GUERRA
                                                                9200 LITZSINGER ROAD
                                                          vs.   ST LOUIS, MO 63144
 Defendant/Respondent:                                          Court Address:
 QUIKTRIP CORPORATION                                           ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Other                                           CLAYTON, MO 63105                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: QUIKTRIP CORPORATION
                                      Alias:
  CT CORPORATION SYSTEM
  120 SOUTH CENTRAL AVE.
  CLAYTON, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        20-NOV-2020                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       LES
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                         Date                                         Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-10495          1   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                                    EXHIBIT A
           Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 11 of 23 PageID #: 19
                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-10495   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                           EXHIBIT A
           Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 12 of 23 PageID #: 20
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-10495   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo

                                                                                                                          EXHIBIT A
Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 13 of 23 PageID #: 21




                                                                    EXHIBIT A
Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 14 of 23 PageID #: 22




                                                                                                      Electronically Filed - St Louis County - December 30, 2020 - 10:15 AM
               IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

BRENDA LAYTON,                                  )
                                                )
               Plaintiff,                       )
                                                )
vs.                                             )
                                                       Case No. 20SL-CC05699
                                                )
QUIKTRIP CORPORATION, et al.,                   )
                                                )
               Defendants.
                                                )
                                                )

                                  ENTRY OF APPEARANCE

       COMES NOW Matthew J. Reh of Armstrong Teasdale LLP and enters his appearance on

behalf of Defendant QuikTrip Corporation.


                                                    ARMSTRONG TEASDALE LLP



                                                    By: /s/ Matthew J. Reh
                                                        Matthew J. Reh                       #49418
                                                        Katherine Ricks                      #70322
                                                        7700 Forsyth Blvd., Suite 1800
                                                        St. Louis, Missouri 63105
                                                        314.621.5070
                                                        314.621.5065 (facsimile)
                                                        mreh@atllp.com
                                                        kricks@atllp.com

                                                    ATTORNEYS FOR DEFENDANT
                                                    QUIKTRIP CORPORATION

                                CERTIFICATE OF SERVICE

       I hereby certify that on December 30, 2020, the foregoing was filed electronically with

the Clerk of the Court to be served by operation of the Court’s electronic filing system upon all

counsel of record.

                                                    /s/ Matthew J. Reh


                                                                                     EXHIBIT A
Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 15 of 23 PageID #: 23




                                                                                                 Electronically Filed - St Louis County - December 30, 2020 - 10:15 AM
              IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

BRENDA LAYTON,                                  )
                                                )
               Plaintiff,                       )
                                                )
vs.                                             )       Case No. 20SL-CC05699
                                                )
QUIKTRIP CORPORATION, et al.,                   )
                                                )
               Defendants.
                                                )
                                                )

               DEFENDANT QUIKTRIP CORPORATION’S ANSWER TO
                          PLAINTIFF’S PETITION

       Defendant QuikTrip Corporation (“Defendant” or “QT”), by and through counsel,

submits the following Answer to Plaintiff’s Petition.

       1.      QT is without sufficient information or knowledge to admit or deny the

allegations contained in Paragraph 1 and, therefore, denies the same.

       2.      QT admits it is an Oklahoma corporation in good standing and that it was

authorized to conduct business in Missouri on December 8, 2018.

       3.      QT is without sufficient information or knowledge to admit or deny the

allegations contained in Paragraph 3 and, therefore, denies the same.

       4.      QT admits it owned and operated a gas station and convenience store at 9951 Big

Bend Boulevard, St. Louis, Missouri 63122 on December 8, 2018. QT also admits this store is

known as “Store 626.”

       5.      QT is without sufficient information or knowledge to admit or deny the

allegations contained in Paragraph 5 and, therefore, denies the same.




                                                                                 EXHIBIT A
     Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 16 of 23 PageID #: 24




                                                                                                           Electronically Filed - St Louis County - December 30, 2020 - 10:15 AM
       6.      QT is without sufficient information or knowledge to admit or deny the

allegations contained in Paragraph 6 and, therefore, denies the same. QT denies liability for the

damages alleged in paragraph 6.

       7.      QT denies the allegations contained in Paragraph 7.

       8.      QT denies the allegations contained in Paragraph 8.

       9.      QT denies the allegations contained in Paragraph 9.

       10.     QT denies the allegations contained in Paragraph 10.

       11.     QT admits that ”Store 626” is located in St. Louis County, Missouri, but denies

liability for the damages alleged in paragraph 11. Further answering, the remaining allegation

contained in Paragraph 11 constitutes a legal conclusion to which no response is required. To the

extent a response is deemed required, QT denies the allegation.

       WHEREFORE having fully answered Plaintiff’s Petition, QT prays for judgment in its

favor, for its costs and reasonable attorney’s fees, and for such other and further relief the Court

deems just and proper under the circumstances.

                                    JURY TRIAL DEMAND

       QT demands a trial by jury on all issues so triable.

                                  AFFIRMATIVE DEFENSES

       1.      QT denies each and every allegation not specifically admitted herein.

       2.      Plaintiff’s Petition fails to state a claim against QT upon which relief can be

granted. QT had no knowledge of the alleged dangerous condition and did not breach any duties

owed to Plaintiff.

       3.      Any injuries or damages sustained by Plaintiff, which QT denies, were directly

and/or proximately caused or contributed to by Plaintiff’s negligence or fault.




                                                 2
                                                                                               EXHIBIT A
      Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 17 of 23 PageID #: 25




                                                                                                          Electronically Filed - St Louis County - December 30, 2020 - 10:15 AM
       4.      Any injuries or damages sustained by Plaintiff, which QT denies, were directly

and/or proximately caused or contributed to by the negligence or fault of other persons or entities

not within QT’s control.

       5.      Any injuries or damages sustained by Plaintiff, which QT denies, were not caused

or contributed to in any degree by any negligence, fault or wrongdoing on the part of QT or any

of QT’s employees.

       6.      If Plaintiff was injured or damaged, which QT denies, to the extent allegations of

fault remain as to QT, the fault of Plaintiff and/or other persons or entities involved in the

occurrence should be compared and/or apportioned so as to diminish or preclude recovery from

QT.

       7.      Plaintiff failed to use ordinary care while present at QT at or near the time of the

alleged occurrence and such failure directly caused or contributed to any and/or all of Plaintiff’s

alleged damages.

       8.      Plaintiff failed to keep a careful lookout and such failure caused or contributed to

any and/or all of Plaintiff’s alleged damages.

       9.      QT contests the nature and extent of Plaintiff’s alleged damages.

       10.     If Plaintiff suffered any damage, which QT denies, such damages and any

recovery should be reduced pursuant to Mo. Rev. Stat. § 490.715.

       11.     QT is entitled to credit in the amount of any settlement Plaintiff receives from any

tortfeasor, as such credit constitutes a satisfaction and offset pursuant to Mo. Rev. Stat. §

537.060.

       12.     If Plaintiff suffered any damages, which QT denies, Plaintiff failed to comply

with the procedures in Mo. Rev. Stat. §408.040 and is not entitled to prejudgment interest.




                                                 3
                                                                                              EXHIBIT A
     Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 18 of 23 PageID #: 26




                                                                                                           Electronically Filed - St Louis County - December 30, 2020 - 10:15 AM
       13.     If Plaintiff suffered any damages, which QT denies, the alleged defect and/or risk

was open and obvious and Plaintiff’s failure to recognize it directly caused and/or contributed to

her alleged damages.

       14.     If Plaintiff suffered any damages, which QT denies, the alleged defect and/or risk

was open and obvious and Plaintiff assumed any and all risk in going near, remaining near, and

walking/running near the alleged defect and/or risk.

       15.     If Plaintiff suffered any damages, which QT denies, the alleged defect and/or risk

was open and obvious and QT had no duty to warn.

       16.     Plaintiff failed to mitigate her damages.

       17.     QT expressly reserves the right to challenge jurisdiction and venue in St. Louis

County, Missouri if Plaintiff fails to pursue her claims against unnamed Defendant Jane Doe.

       18.     QT reserves the right to raise additional affirmative defenses as may be learned

through discovery.

       WHEREFORE having fully answered Plaintiff’s Petition, QT prays for judgment in its

favor, for its costs and reasonable attorney’s fees, and for such other and further relief the Court

deems just and proper under the circumstances.




                                                 4
                                                                                               EXHIBIT A
     Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 19 of 23 PageID #: 27




                                                                                                         Electronically Filed - St Louis County - December 30, 2020 - 10:15 AM
                                                   ARMSTRONG TEASDALE LLP



                                                   By: /s/ Matthew J. Reh
                                                       Matthew J. Reh                      #49418
                                                       Katherine Ricks                     #70322
                                                       7700 Forsyth Blvd., Suite 1800
                                                       St. Louis, Missouri 63105
                                                       314.621.5070
                                                       314.621.5065 (facsimile)
                                                       mreh@atllp.com
                                                       kricks@atllp.com

                                                   ATTORNEYS FOR DEFENDANT
                                                   QUIKTRIP CORPORATION



                               CERTIFICATE OF SERVICE

       I hereby certify that on December 30, 2020, the foregoing was filed electronically with

the Clerk of the Court to be served by operation of the Court’s electronic filing system upon all

counsel of record.

                                                   /s/ Matthew J. Reh




                                               5
                                                                                             EXHIBIT A
Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 20 of 23 PageID #: 28




                                                                                                      Electronically Filed - St Louis County - December 30, 2020 - 10:18 AM
               IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

BRENDA LAYTON,                                  )
                                                )
               Plaintiff,                       )
                                                )
vs.                                             )
                                                       Case No. 20SL-CC05699
                                                )
QUIKTRIP CORPORATION, et al.,                   )
                                                )
               Defendants.
                                                )
                                                )

                                  ENTRY OF APPEARANCE

       COMES NOW Katherine M. Ricks of Armstrong Teasdale LLP and enters her

appearance on behalf of Defendant QuikTrip Corporation.


                                                    ARMSTRONG TEASDALE LLP



                                                    By: /s/ Katherine M. Ricks
                                                        Matthew J. Reh                       #49418
                                                        Katherine Ricks                      #70322
                                                        7700 Forsyth Blvd., Suite 1800
                                                        St. Louis, Missouri 63105
                                                        314.621.5070
                                                        314.621.5065 (facsimile)
                                                        mreh@atllp.com
                                                        kricks@atllp.com

                                                    ATTORNEYS FOR DEFENDANT
                                                    QUIKTRIP CORPORATION

                                CERTIFICATE OF SERVICE

       I hereby certify that on December 30, 2020, the foregoing was filed electronically with

the Clerk of the Court to be served by operation of the Court’s electronic filing system upon all

counsel of record.

                                                    /s/ Katherine M. Ricks


                                                                                     EXHIBIT A
Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 21 of 23 PageID #: 29




                                                                                                     Electronically Filed - St Louis County - January 21, 2021 - 04:15 PM
              IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

BRENDA LAYTON,                                  )
                                                )
               Plaintiff,                       )
                                                )
vs.                                             )     Case No. 20SL-CC05699
                                                )
QUIKTRIP CORPORATION, et al.,                   )
                                                )
               Defendants.
                                                )

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of Defendant QuikTrip

Corporation’s First Set of Interrogatories to Plaintiff and Defendant QuikTrip Corporation’s First

Requests for Production to Plaintiff were served in MS Word and PDF format via electronic mail

on January 21, 2021, to Justin D. Guerra, jguerra@holloranlaw.com


                                                    ARMSTRONG TEASDALE LLP



                                                    By: /s/ Katherine M. Ricks
                                                        Matthew J. Reh                      #49418
                                                        Katherine Ricks                     #70322
                                                        7700 Forsyth Blvd., Suite 1800
                                                        St. Louis, Missouri 63105
                                                        314.621.5070
                                                        314.621.5065 (facsimile)
                                                        mreh@atllp.com
                                                        kricks@atllp.com

                                                    ATTORNEYS FOR DEFENDANT
                                                    QUIKTRIP CORPORATION




                                                                                    EXHIBIT A
     Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 22 of 23 PageID #: 30




                                                                                                            Electronically Filed - St Louis County - January 21, 2021 - 04:15 PM
                                CERTIFICATE OF SERVICE

       I hereby certify that on January 21, 2021, the foregoing was filed electronically with the

Clerk of the Court to be served by operation of the Court’s electronic filing system upon all

counsel of record.

                                                    /s/ Katherine M. Ricks




                                                2
                                                                                                EXHIBIT A
Case: 4:21-cv-00389-JAR Doc. #: 1-1 Filed: 04/02/21 Page: 23 of 23 PageID #: 31




                                                                                                       Electronically Filed - St Louis County - March 05, 2021 - 11:18 AM
               IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

BRENDA LAYTON,                                   )
                                                 )
               Plaintiff,                        )
                                                 )
vs.                                              )
                                                       No. 20SL-CC05699
                                                 )
QUIKTRIP CORPORATION,
                                                 )
               Defendant.                        )
                                                 )
                                                 )

                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 5, 2021, true and accurate copies of Plaintiff’s First Set of
Interrogatories Directed to Defendant, Plaintiff’s First Set of Request for Production Directed to
Defendant, Plaintiff’s Answers to Defendant’s First Interrogatories Directed Plaintiff, and
Plaintiff’s Responses to Defendant’s First Request for Production Directed to Plaintiff were sent
via electronic mail to: Matthew J. Reh, Katherine M. Ricks, ARMSTRONG TEASDALE LLP,
7700 Forsyth Blvd., Suite 1800, St. Louis, Missouri 63105, mreh@atllp.com, kricks@atllp.com,
Attorneys for Defendant QuikTrip Corporation.

                                      Respectfully submitted,

                                      HOLLORAN SCHWARTZ & GAERTNER LLP
                                      /s/Justin D. Guerra
                                      Justin D. Guerra, #59003
                                      9200 Litzsinger Road
                                      St. Louis, MO 63144
                                      314.772.8989 phone
                                      314.279.1333 fax
                                      jguerra@holloranlaw.com
                                      Attorneys for Plaintiff


                                      Certificate of Service

        The undersigned hereby certifies that the foregoing was filed on the Court’s electronic
filing system on this 5th day of March, 2021, and thereby served upon all attorneys of record.

                                                                             /s/Justin D. Guerra


                                                                                       EXHIBIT A
